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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

        v.                                        CRIMINAL No. 1:19-cr-10195-WGY

 HAOYANG YU, et. al.,
     Defendants


           GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION TO
          DISMISS INDICTMENT DUE TO VINDICTIVE PROSECUTION AND
                   OUTRAGEOUS GOVERNMENT MISCONDUCT
        The United States Attorney’s Office (USAO) sought the Superseding Indictment in this

case because the investigation produced new and damning evidence of the defendants’ serious

crimes. This new information educated the government about the scope and character of defendant

Haoyang Yu’s wrongdoing.        As just two examples, following the initial indictment, the

government learned that Yu had knowingly sold stolen computer chips to Turkey’s largest defense

electronics company. It also learned that Yu had stolen the files necessary to manufacture

computer chips containing a sensitive technology with military applications. New information

also included evidence against Yu’s wife, now co-defendant Yanzhi Chen, who confessed to her

role in conceiving Tricon MMIC, LLC (“Tricon”), and executed crucial financial transactions on

its behalf.

        The Court should reject the defendants’ baseless claims that they are the victims of

prosecutorial vindictiveness and outrageous government misconduct. Dkt Nos. 104, 105, 106.

The government engaged Yu’s counsel in plea discussions for ten months. Even as it accumulated

new incriminating evidence, the government attempted in good faith to resolve the case in a

manner that was fair to Yu and in the interests of justice. The government’s conduct was proper.

                                           I. FACTS

        Federal agents began investigating Tricon in 2018, when industry representatives notified
various U.S. government agencies that they believed the company was committing a crime. The
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investigation proceeded covertly until shortly after May 22, 2019, when agents learned that Chen

had received a new shipment from Win Semiconductors Corp. (“Win”), a Taiwanese computer

chip manufacturer. Federal agents inspected the shipment, which contained a gallium arsenide

wafer onto which hundreds of computer chips were mounted. Each chip could be removed,

repackaged, and sold to Tricon’s customers, thereby causing further injury to Analog Devices, Inc.

(“ADI”), the victim company from which Yu had stolen the chip designs.

       Partly for this reason, the government accelerated its timetable. On June 11, 2019, it

obtained several search warrants and an arrest warrant for Yu. The Grand Jury also returned the

original indictment, which charged Yu with 15 counts of trade secret and other crimes. Dkt. No.

1. The indictment referred to Chen and her role in the illegal scheme, but it did not charge her.

Id. at ¶¶ 1, 6-7. On June 14, 2019, government agents executed the warrants, including one

authorizing the search of Yu’s home and the seizure of the digital devices inside. After Yu’s arrest,

agents analyzed those devices and followed-up on other leads.           Contrary to the defense’s

assertions, the story of the Superseding Indictment is not one of prosecutorial vindictiveness or

outrageous misconduct. It is the story of the evidence that the continuing investigation uncovered

in the 15 months following Yu’s arrest. This new evidence informed prosecutorial decisions

regarding what new charges were possible and should be brought in the Superseding Indictment,

ultimately returned on October 1, 2020. That new evidence is discussed in detail below.
       A.      Chen’s Confession

       On June 14, 2019, government agents interviewed Chen, who provided incriminating detail

about Tricon’s criminal scheme and her role in it. Specifically, Chen made the following remarks.

       “My husband took something from ADI.” Dkt. No. 102-3 at 75:1. “I know my husband

not do good things.” Id. at 78:7. Tricon’s designs were “90 percent of – 80 percent the same” as

ADI’s designs. Id. at 99:1-2. “Besides ADI, … everything is legal.” Id. at 90:1-7. Chen had an

MBA and “some business sense.” Id. at 35:13-18; 23:8. “I think probably it was my idea to

suggest him to run the business.” Id. at 115:24-25. The couple put the company in Chen’s name
because it was “just easier” and “probably” to prevent others from linking the company to Yu;

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they knew he had a “conflict,” and he knew taking information from ADI was wrong. Id. at 87:16-

25; 20:17-19; 52:3-10; 91:10-23. Chen helped with some planning for the company and with the

design of the website. Id. at 84:16–85:6; 99:7-13. Chen was a signatory on Tricon’s Bank of

America account: She deposited customer checks and wired money to Win. Id. at 30:1–32:6;

107:13-20. Chen ordered packaging, labeled Tricon shipments, and delivered them to UPS. Id. at

26:12-15; 27:12–28:20; 29:5–30:17; 39:5-15.

       This detail regarding Chen’s knowledge of Tricon’s criminal scheme and her facilitation

of it had previously been unknown to agents. It supported bringing charges against her.

       B.      Bank of America Records

       On September 26, 2019, the government subpoenaed Bank of America (“BoA”) records

relating to Tricon’s two business accounts. Returns received in October 2019 confirmed that Chen

was the signatory on both accounts and that she had described herself as “manager” of the business.

This new evidence further supported charges against Chen.

       C.      Win Semiconductors Records

       On October 24, 2019, two federal agents interviewed employees of Win, the company that

manufactured Tricon’s computer chips. Following the meeting, Win began producing relevant

documents and continued to do so into the summer of 2020. These materials were the principal

basis of several new charges in the Superseding Indictment.
       Specifically, Win provided the customer information form that Tricon had submitted to

establish an account with the foundry. This document is the principal basis of Superseding

Indictment Count 16. Dkt. No. 78 ¶ 35. It listed Chen as Tricon’s president, major shareholder,

and point of contact for all billing, shipping, payment, sales, and technology-related inquiries. Id.

at ¶ 16. In a section titled “Business Advantage,” Tricon made the following false claim: “Our IP

gives us a leg up against our competitors.” Id. The intellectual property did not belong to Tricon,

of course; Yu had stolen it from ADI.

       Next, Win provided BoA records specifically connecting Chen to Win’s payments. In
particular, the company sent two documents confirming that Chen had initiated wires from

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Tricon’s account in the U.S. to Win’s account in Taiwan. Each transfer was for more than $35,000.

Each document named Chen as the person requesting the transfer, stated she had done so in person,

and indicated that the teller had verified her identity with her driver’s license. These documents

are the principal evidence supporting Superseding Indictment Counts 17 and 18, charging Chen

and Yu with wire fraud. Id. at ¶¶ 18-19, 35.

       Finally, Win provided copies of the stolen design files that Yu had transferred to the

foundry and internal documents confirming when those files had arrived in Taiwan. This evidence

was instrumental in allowing the government to bring Superseding Indictment Counts 19 and 20,

which allege that Yu internationally transported stolen goods. Id. at ¶¶ 17, 19, 37. It also supported

Superseding Indictment Counts 21 and 22, which allege that one of Yu’s electronic transfers of

stolen technology contained data whose export is controlled for national security reasons. Id. at

¶¶ 20-24, 39. Prior to receiving the Win documents, the government could not prove which files

Yu had transmitted out of the country and when he had done so. Moreover, although agents knew

that Tricon’s website advertised chips subject to national security export controls (e.g. ECCN

3A001), agents did not know whether Yu had actually manufactured or distributed those chips

abroad. Win’s information showed that he did.

       D.      Evidence Extracted from Yu’s Electronic Devices

       On June 14, 2019, agents executed a search warrant allowing them to seize numerous
electronic devices from the defendants’ residence. Subsequent analysis showed that the devices

contained voluminous and damning evidence – including technical data, hundreds of stolen ADI

files, chat messages, emails, and other documents – clarifying the scope and character of the

defendants’ crimes. Some of the most concerning evidence demonstrated that Yu had stolen

technology sometimes used in U.S. military applications, as discussed below. Also of concern

was the fact that Yu had sold products to foreign countries. As just two examples, Yu had

knowingly sold stolen chips to Turkey’s largest defense electronics company and intellectual

property to a Chinese company, also discussed below. In combination with other new evidence,



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this information warranted new charges, specifically Superseding Indictment Counts 23 and 24,

which allege Yu’s immigration fraud. Id. at ¶¶ 25-17, 41, 43.

               1.      Yu Stole Technology Used in Military Applications.

       Yu’s computers held exact copies of several ADI trade secret files kept on the company’s

secure servers. Some of these files could be used to manufacture chips with gallium nitride

(“GaN”) technology. GaN is a semiconductor material that can efficiently amplify high power

radio frequency signals and, thereby, enhance a system’s range. The U.S. military places chips

with this technology in jammers that allow fighter jets to fly undetected and that allow soldiers to

prevent the detonation of improvised explosive devices.1 Because of its sensitivity, the United

States requires that all chips containing this technology be manufactured domestically. Yu’s

possession of these GaN files posed a national security concern and formed the basis of

Superseding Indictment Counts 10 and 11. Id. at ¶¶ 10, 33.2

               2.      Yu Sold Stolen Chips for Use in Turkish Defense Systems.

       Emails, chat conversations, invoices, and other evidence show that Yu knowingly provided

his boosted chips to a Turkish military supplier. This was and remains a national security concern.

       Yu’s customer was Aselsan, Turkey’s largest defense electronics company.3 According to

information on Yu’s electronic devices, an Aselsan employee emailed Tricon in April 2018 and

requested a quote for a series of MMIC chips. The employee’s signature indicated that he was a
purchasing engineer for the company. A few hours later, Yu chatted electronically with a friend

and asked what he knew about Aselsan, which Yu described as “in Turkey.” “It’s an awesome

company,” the friend replied. “It mainly works on government contracts.”4 Records from Yu’s

       1
          A fuller discussion of the dimensions and importance of this evidence is at Dkt. No. 94
at 4-6. The government incorporates that discussion into this opposition.
        2
          A third file did not contain GaN information but held designs for several unreleased
ADI products. It formed the basis of Superseding Indictment Count 9. Dkt. No. 78 ¶¶ 10, 33.
        3
          See https://www.aselsan.com.tr/en/about-us/who-we-are. The website states that Aselsan
was established to meet the communication needs of the Turkish Armed Forces by national means.
        4
          Many of Yu’s electronic device records – including chat messages, contracts, and other
documents – were written in Chinese. Quotations and descriptions in this motion rely on draft
summary translations by FBI linguists.
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electronic devices show that Yu quickly mailed three samples to Turkey and that, in November

2018, the company ordered 25 pieces of TM5024. This chip is Tricon’s copy of the ADI part

named HMC460. Yu created a shipping label and sent Aselsan an invoice charging $2,900. BoA

records confirm that Aselsan sent the satisfying wire to Tricon’s business account. Evidence

obtained after the Superseding Indictment confirmed that the Aselsan employee had informed Yu

prior to the shipment that his order was for “a defence [sic] system” and that the chips would be

used in “the front end units of EW [electronic warfare] systems developed by Aselsan.”

               3.      Yu Sold Intellectual Property to a Chinese Company.

       As another example of Yu’s international business, information on his electronic devices

shows that, in 2018, he sold intellectual property to a Chinese company. The data also provide

good evidence that the end-user of this transaction was Huawei Technologies Co. (“Huawei”).

This Chinese company designs, develops, and sells telecommunications equipment and consumer

electronics. Since mid-2018, Huawei has been the subject of U.S. sanctions.5

       Specifically, Yu’s electronic devices included a copy of an August 2018 contract executed

by Yu and Shanghai Qilu Information Technology Co. (“Qilu Tech”). The contract bound Tricon

to design and test a MIMO pre-driver for Qilu Tech, a company based in Shanghai.6 Afterward,

all intellectual property rights – including the design’s trade secrets, patents, and copyrights –

would belong to Qilu Tech. In exchange, Qilu Tech would pay Tricon a total of $50,000 in three
installments. The project’s logistical, financial, and technical details are described in other

documents found on Yu’s electronic devices. These include scores of Chinese-language chat


       5
          In 2018, due to national security concerns, the United States banned Huawei networking
equipment from domestic 5G networks. In 2019, the Federal Communications Commission
designated Huawei a national security threat and the U.S. Department of Commerce added Huawei
and affiliated entities to the Entity List. Since then, the United States has imposed export controls
designed to cut off the company’s U.S. supply of high-end chips and advanced chipmaking
equipment, effectively crippling Huawei’s ability to make high-end smartphones.
        6
           According to open sources, MIMO is a common acronym for “multiple-input/multiple-
out.” This technology allows wireless communications devices to send and receive multiple data
signals simultaneously over the same radio channel. A pre-driver is one portion of required
hardware.
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messages sent between May 2018 and May 2019. Ultimately, Yu sent Qilu Tech invoices for

$10,000 and $35,000 in August and December 2018.                    Tricon’s BoA account received

corresponding wires for the same.

        It is important to note that this transaction remains under investigation. The government

does not currently believe that it involves Yu selling ADI’s intellectual property. Instead, we have

reason to believe – but have not yet confirmed – that the property may belong to another victim

company. However, the evidence linking Yu’s project to Huawei is strong. This includes but is

not limited to his having written to a friend on August 11, 2018 – during the pendency of the

project – and saying, “I currently have a project where the end user is Huawei.”

        Finally, the government notes that, since the Superseding Indictment, evidence of Yu’s

foreign dealings has expanded. For example, the government has obtained emails showing that,

in mid-2018, Yu corresponded with an Indian company and advertised his ability to provide

“Space and Mil Grade Components.” Other emails show his correspondence with an Israeli

company seeking to replace ADI products. Still others give new detail about sales of stolen chips

to Spain, transactions of which the government was aware prior to the initial indictment.

        E.      Yu’s Plea Negotiations

        The government raised the possibility of plea negotiations to Yu’s counsel in December

2019 and pursued those negotiations for ten months, through September 2020. During this time,
the government was candid with the defense about its increasing evidence but also sincere in its

efforts to find a resolution that would both be fair to the defendant and serve the interests of justice.

In the end, despite a good faith effort to resolve the case, the parties were unable to agree. The

government attributes this largely to Yu’s desire for government assurances that his felony

convictions would not result in immigration consequences, a promise the USAO does not have the

authority or jurisdiction to make.

        More specifically, on December 5, 2019, the government emailed the defense and said that

it had developed additional evidence. It invited the defense to discuss the evidence in person and
explore the possibility of a plea before the government sought a superseding indictment. The

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parties met on January 8, 2020. There, the government made a detailed presentation of its case,

including the new evidence it had developed from Yu’s electronic devices, the search of his

residence, and Win. It presented a timeline of key dates in the criminal scheme. It described how

new evidence might apply to Chen. The government had named but not charged her in the original

indictment largely because the government was not yet confident in the extent of her role.

However, as the government informed the defense, that assessment was changing.7                  The

government discussed potential new allegations against Yu and said that a superseding indictment

would likely charge immigration fraud. The parties reviewed the Guidelines and calculated the

effects of pleas to various charges and loss amounts.

       In the weeks that followed, there was a good-faith give-and-take. The government

produced additional discovery, answered evidentiary questions, and explained its theories for

export and wire fraud charges. The defense affirmed that Yu was still interested in a plea. It sent

a detailed email regarding loss calculations, export violations, and immigration consequences. The

parties met again on March 10, 2020. Negotiations continued by phone and email after the

COVID-19 pandemic began. Throughout the process, both parties suggested resolutions that

would have required Yu’s pleading guilty to a subset of the charges in the initial indictment.

       To inform discussions, and with a looming October trial date, the government provided the

defense on September 9, 2020, with a draft superseding indictment almost identical to the one the
Grand Jury returned. The undersigned explained that the document was still subject to change but

that the government planned to present something similar to the Grand Jury in the next week. The

undersigned also offered to delay that presentation if the defense still wanted more time to discuss

a plea resolution. On September 14, 2020, the government filed an assented-to motion requesting

continuation of the trial date. Dkt. No. 73. The motion stated that the parties were discussing a

non-trial resolution and that, among other things, the conversation involved “the defendant’s

review and consideration of additional evidence and potential new charges, which the government

       7
       By January 2020, Chen had hired separate counsel, who also spoke with the
government.
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may elect to pursue in a superseding indictment.” Id. at 1. In the end, the government delayed its

Grand Jury presentation, but discussions remained unfruitful. The government’s last record of

plea discussions is a substantive email it sent on September 26, 2020. The email followed-up on

immigration and export issues and asked a question of the defense; to date, there has been no reply.

       On October 1, 2020, the Grand Jury returned the Superseding Indictment. Dkt. No. 78. At

that time, the court had denied one defense pretrial motion. Dkt. No. 69. The parties had filed

pleadings relating to two other motions, but the court had yet to hear argument.8 Dkt. No. 84.

       Finally, of particular relevance to this motion is an email exchange that the parties shared

on February 13, 2020. In the first email, the defense stated that Yu might not be able to honestly

say that his plea was voluntary if it were entered to avoid having the government charge Chen.

The government quickly responded denying that it was – as the defense had phrased it – attempting

to “coerce” Yu into a plea. The defense replied nearly immediately and clarified that it “wasn’t

meaning to allege some kind of misconduct but simply to express the difficulty of the situation in

which Mr. Yu finds himself.” The government found no subsequent mention of this issue in the

parties’ correspondence. It was surprised to see the issue raised here, especially considering that

plea discussions continued for another seven months.

                                 II. THE LEGAL STANDARD

       A.      Prosecutorial Vindictiveness
       There is no evidence to support the defendants’ claim that they are the victims of

prosecutorial vindictiveness. United States District Judge Gorton framed the proper inquiry for

this allegation in United States v. George. 839 F. Supp. 2d 430 (D. Mass. 2012). There, he wrote:

               To establish prosecutorial vindictiveness, a defendant must show that the
               prosecutor harbored genuine animus toward him and that he would not have
               been prosecuted but for that animus. A defendant who lacks direct evidence
               of a vindictive motive can establish a rebuttable presumption of
               vindictiveness by demonstrating circumstances that reveal a sufficient
               likelihood of vindictiveness. Raising such a presumption is especially

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        The court has since denied a second defense pretrial motion and kept a third under
advisement. Dkt. No. 89.
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               difficult in a pretrial setting, however, given that a prosecutor is afforded
               broad discretion to determine whom should be prosecuted and for what
               crime and is presumed to have exercised that discretion in good faith.
George, 839 F. Supp. 2d at 441 (citations omitted) (emphasis added). See also United States v.

Marrapese, 826 F.2d 145, 147 (1st Cir. 1987).

       The difficulty in raising a pretrial presumption is even more arduous in the context of plea

negotiations. Since 1982, virtually every court that has reviewed claims of vindictiveness in a plea

bargaining context has rejected the claim. That was the year the Supreme Court decided United

States v. Goodwin, 457 U.S. 368, 381 (1982).           In Goodwin, the Supreme Court carefully

distinguished pretrial and post-trial procedures and discussed the “good reason to be cautious”
before adopting a per se presumption of prosecutorial vindictiveness in a pretrial context. Id. at

382. The Court explained that, while preparing for trial, a prosecutor might uncover additional

information suggesting a further basis for prosecution – or may simply realize her evidence has

greater significance. Id. The Court thus noted the unlikelihood that a prosecutor had fully

“crystallized” her assessment of the case in its early stages, unlike when a trial had already begun

or when a conviction had already been delivered. Id. The Court noted that prosecutors reasonably

expect defendants to bring pretrial motions and exercise other procedural rights. Id. Thus, it is

unrealistic to assume that a prosecutor’s response to such motions, including bringing new charges,

is designed to punish and deter. Id. “A prosecutor should remain free before trial to exercise the

broad discretion entrusted to him to determine the extent of the societal interest in prosecution,”
the court wrote. Id. at 382. “An initial decision should not freeze future conduct.” Id.

       The First Circuit and other appellate courts have more recently articulated these principles

– namely, that a presumption of vindictiveness almost never applies in a pretrial setting and that

new charges alone don’t raise one. See United States v. Stokes, 124 F.3d 39, 45 (1st Cir.1997)

(“courts should go very slowly in embracing presumptions of prosecutorial vindictiveness in

pretrial proceedings.”); United States v. Young, 955 F.2d 99, 108 (1st Cir. 1992) (“the mere

bringing of a new indictment with added counts is not in itself vindictive behavior, nor does it raise
a presumption of vindictiveness.”); United States v. Cooper, 461 F.3d 850, 856 (7th Cir. 2006)

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(the “presumption of vindictiveness does not apply to pretrial decisions by the prosecution”). In

the extremely rare instance that a pretrial presumption of vindictiveness is found, the government

may rebut it by demonstrating that the new charge has been brought for some objective reason

other than punishment. Goodwin, 457 U.S. at 376 n.8. For instance, new evidence, like that found

here, is a legitimate, non-vindictive reason for bringing a new charge. Id. (citing Blackledge v.

Perry, 417 U.S. 21, 29 (1974) (“This would clearly be a different case if the State had shown that

it was impossible to proceed on the more serious charge at the outset…”))

       B.      Outrageous Government Misconduct

       The defendants also allege – without any factual basis – that they are the victims of

outrageous government misconduct. “In rare and extreme circumstances, a federal court has the

authority to dismiss criminal charges as a sanction for government misconduct.” United States v.

Guzman, 282 F.3d 56, 59 (1st Cir. 2002). That power must be used “sparingly,” however, and is

“reserved for only the most appalling and egregious situations.” Id. (citing United States v.

Santana, 6 F.3d 1, 10 (1st Cir. 1993). A defendant claiming misconduct must demonstrate that

the government has engaged in behavior “so appalling and egregious as to violate due process by

‘shocking ... the universal sense of justice.’” United States v. Luisi, 482 F.3d 43, 59 (1st Cir. 2007)

(quoting United States v. Russell, 411 U.S. 423, 432 (1973)). In other words, this is a high hurdle.

Indeed, although the First Circuit has confirmed the theoretical viability of this defense, the
government could find no example of the First Circuit ever dismissing criminal charges because

of outrageous government misconduct. Luisi, 482 F.3d at 59 (citing cases); Santana, 6 F.3d at 4

(“The banner of outrageous misconduct is often raised but seldom saluted.”).

       Applying these standards to the facts of this case, it is apparent that both defendants’ claims

of prosecutorial vindictiveness and outrageous government misconduct fail. Neither defendant

has made a sufficient showing to warrant a hearing, much less dismissal of the indictment.9 Even

       9
         The court may decide this motion on the papers; a hearing is not necessary. United States
v. Lanoue, 137 F.3d 656 (1st Cir. 1998) (proper to deny a vindictive prosecution motion after the
record incorporated the parties’ memoranda, including the government’s candid explanation of the
reasons for its prosecution, and the court heard argument.)
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to obtain discovery, a defendant must present “some” objective evidence tending to show the

existence of prosecutorial vindictiveness. United States v. Bucci, 582 F.3d 108, 113 (1st Cir.

2009). The standard is “rigorous” for the same reasons articulated in Armstrong and discussed in

the government’s previous briefing. United States v. Armstrong, 517 U.S. 456, 465 (1996); see

Dkt. Nos. 68 at 7; 94 at 16-18. The defense has made no such showing.

                                        III. ARGUMENT

       The defense claims that the government vindictively punished Yu for exercising his right

to trial and that his punishment came in the form of Chen’s indictment. Dkt. No. 104 at 10. To

proceed, the defendants must establish either actual vindictiveness or a presumption of it.

       A.      There is No Evidence of Actual Vindictiveness.

       To establish actual vindictiveness, a defendant must prove objectively that the prosecutor’s

charging decision was a “direct and unjustifiable penalty” that resulted “solely from the

defendant’s exercise of a protected legal right.” Goodwin, 457 U.S. at 380, 384, n.19, n.11. For

example, a defendant might produce evidence that a prosecutor actually said that he was bringing

a new charge in order to dissuade the defendant from exercising his legal right. United States v.

Campbell, 410 F.3d 456, 462 (8th Cir. 2005). This showing, however, is “exceedingly difficult to

make.” United States v. Meyer, 810 F.2d 1242, 1245 (D.C.Cir.1987). Here, there is no evidence

of actual vindictiveness, and the defense alleges none.
       B.      A Presumption of Vindictiveness Does Not Apply.

       To establish a presumption of prosecutorial vindictiveness, the defendant must show that

the circumstances of his case pose a “realistic likelihood” of vindictiveness that would be

applicable in all cases with similar circumstances. Blackledge v. Perry, 417 U.S. 21, 27 (1974);

Goodwin, 457 U.S. at 381. As Judge Gorton observed, this is a particularly difficult showing in a

pretrial setting. George, 839 F. Supp. 2d at 441. The presumption does not arise just because

action detrimental to the defendant was taken after the exercise of his legal rights; context is what

matters and must present a reasonable likelihood of vindictiveness. Goodwin, 457 U.S. at 373.
Thus, only in “rare instances” is the presumption applied. United States v. Kriens, 270 F.3d 597,

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602 (8th Cir.2001). It has never been applied in the context of plea bargaining, as alleged here,

and it should not be applied here.
                 1.     The Circumstances Do Not Pose a “Realistic Likelihood” of Vindictive
                        Prosecution.
          The circumstances of this case do not pose a “realistic likelihood” of vindictive

prosecution. The defense cites United States v. LaDeau as a model for applying the presumption

in a pretrial setting. Dkt. No. 104 at 12; United States v. LaDeau, 734 F.3d 561 (6th Cir. 2013).

In that case, the Sixth Circuit upheld a lower court’s decision to apply the presumption after the

government lost a suppression motion and then filed a more serious charge. The LaDeau case is
inapposite despite the defendant’s claims to the contrary. Dkt. No. 104 at 12.

          The first of two factors supporting the court’s finding of a vindictive prosecution

presumption was that the LaDeau prosecution “already possessed all of the relevant evidence”

supporting the superseding indictment when it sought its original indictment. LaDeau, 734 F.3d

at 568.     In contrast, here, the government developed significant new evidence between its

indictments, as detailed above. None of this evidence was known to the government at the time

of its initial Grand Jury presentation. And it is this evidence that directly supported and justified

the Superseding Indictment’s new charges, including those against Chen.

          The second LaDeau factor was that the government filed its superseding indictment after

LaDeau won his suppression motion. This motion excluded crucial evidence and eliminated the

government’s ability to pursue any case under the original indictment. Id. at 569. The LaDeau

court described this motion as a government “burden.” Id. at 568. Here, the defense wrongly

claims a similar dynamic: Because Yu has elected to go to trial, now the government will have

“the burden” of conducting a jury trial. Dkt. No. 104 at 13. The comparison is not valid.

          The government did not suddenly assume a trial burden when Yu’s plea negotiations

concluded. As with every case charged by this office, the government has been cognizant of its

burden to prove all charges beyond a reasonable doubt throughout this case – even before Yu was
aware of the investigation and before he was charged in the original indictment. Plea negotiations


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did not change that burden; his choice to proceed to trial did not change it. The government made

clear the possibility of bringing additional charges in December 2019. For the following ten

months, it tried in good faith to negotiate a fair and just resolution. Indeed, the defense never even

conveyed its reaction to the government’s final message on the subject. Yet during that same ten-

month period, the agents continued to uncover new evidence demonstrating the massive scope of

Yu’s illegal activities and his conspiracy with Chen. Seeking a Superseding Indictment that

charged crimes relating to this new evidence was neither designed to punish Yu for exercising his

Constitutional rights nor has it actually done so.

       The comparison is also unhelpful because, in LaDeau, the government literally could not

proceed in its case after the suppression ruling, which the court characterized as “a mortal blow.”

LaDeau at 569. Afterward, obtaining LaDeau’s conviction on the initial charge became “not

simply more of a chore” but “impossible.” Id. That is why the court characterized the LaDeau’s

motion as placing a “significant” “burden” on the government. Id. at 568. Here, the government

has suffered no circumstance that makes its case “impossible.” The government’s burden is the

same as it is in every case and as it has been since the beginning of this one.

       Finally, contrary to the defense’s argument, the government does not “prefer to avoid” trial.

Dkt. No. 104 at 13. The government is not intimidated by the task of presenting “a complex, trade

secrets case.” Id. Instead, the government welcomes trial and is prepared, as required by the
Constitution, to prove every element of the charges beyond a reasonable doubt.10

       C.      Even if the Court Finds a Presumption, New Evidence Rebuts It.

       The court should reject the defendants’ arguments and refuse to find that this case is the

rare exception warranting a pretrial presumption of prosecutorial vindictiveness. But even if the

presumption were applied, the facts above would resoundingly rebut that presumption. The

voluminous new evidence discovered after the original indictment provided the basis and context


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           The defense reiterates its argument about the government wanting “to avoid [the]
trouble” of trial near the end of its motion. See Dkt. No. 104 at 18. There is no evidence supporting
this claim.
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for the Superseding Indictment’s new charges, including those against Chen. There is no evidence

that the government is attempting to punish the defendants for exercising their rights.

       New evidence is specifically the kind of objective reason that the Supreme Court and other

courts have relied upon to defeat a presumption of prosecutorial vindictiveness in a pretrial setting.

See Goodwin, 457 U.S. at 376 n.8; United States v. Lanoue, 137 F.3d 656 (1st Cir. 1998) (finding

no vindictive prosecution where the government memorandum explained its reasons for

prosecution, the “most important” being that the prosecutor had new evidence that had been

unavailable when he previously dismissed the charge).11 Here, new evidence gathered between

the original and superseding indictments includes Chen’s confession and description of her role in

conceiving and fostering Tricon; bank records corroborating her statements and identifying her

transmission of more than $75,000 to finance construction of the company’s stolen computer

chips; Win records exposing the defendants’ communications and business with its unwitting

manufacturer; and digital information detailing Yu’s sales and marketing of computer chips

abroad. With the exceptions of Counts 23 and 24, this evidence allowed the government to prove

the elements of all of the new charges in the Superseding Indictment, including those lodged

against Chen. The fact that the parties tried but failed to negotiate a resolution that obviated the

need for a trial doesn’t transform this case into one involving vindictive prosecution, coercion, or

outrageous government misconduct.
               1.      The New Evidence Justified Immigration Fraud Charges against Yu.

       The defense motion focuses on the consequences of the government’s choice to bring

immigration charges against Yu. Specifically, Superseding Indictment Count 23 alleges that Yu

lied several times during his February 2017 citizenship interview when, for example, he affirmed

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           See also United States v. Campbell, 410 F.3d 456 (8th Cir. 2005) (“There can be no
prosecutorial vindictiveness if the prosecutor revised the charge because of newly discovered
evidence …”); Bragan v. Poindexter, 249 F.3d 476 (6th Cir. 2001) (citing governmental discovery
of previously unknown evidence as an example of an objective explanation rebutting a finding of
a realistic likelihood of vindictiveness); United States v. Nell, 570 F.2d 1251, 1254–55 (5th Cir.
1978) (providing a list of various non-vindictive reasons for adding more serious charges,
including obtaining “evidence of the additional crimes … after the first indictment”).
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under oath that he had never committed a crime for which he had not been arrested. Dkt. No. 78

¶¶ 25-26, 41. These statements were false because, by the time of his interview, Yu had already

stolen hundreds of computer files from his employer and contacted Win about manufacturing

chips. Superseding Indictment Count 24 further alleges that Yu told these lies under oath

specifically to obtain U.S. citizenship. Id. at ¶¶ 25-27, 43.

       The defense focuses on these charges partly because, as it correctly notes, conviction

penalties are severe, culminating in rescission of the offender’s U.S. citizenship and potential

deportation. These serious consequences are one reason the government declined to include the

charges in its initial indictment, even though it could have done so. At that time, government

investigators had obtained a copy of the defendant’s immigration file, a standard practice in all

cases involving a foreign national or naturalized citizen. And by the time of the initial indictment,

it was clear that Yu had taken advantage of the United States citizenship application process.

Nevertheless, the government declined to allege immigration charges at the outset and made a

good-faith effort to resolve the case without them.

       However, after the Grand Jury issued the initial indictment, the government developed

significant new evidence regarding the scope and character of the defendant’s crimes. Specifically,

the government learned in new and concerning detail that Yu had stolen and still possessed exact

copies of files describing how to make GaN technology chips, which are powerful and sensitive
enough that the U.S. government requires that their production occur in the United States.

       Yu’s foreign marketing and sales were also more extensive than the government believed

at the time of the initial indictment. For example, only shortly after Yu had become a United States

citizen, he proceeded with an international Turkish transaction in which he sold products that he

knew had been manufactured using trade secrets he had stolen from ADI. And he did so to benefit

a foreign military. Discovering this evidence changed the complexion of this case. As the court

itself has noted, “There is a world of difference between trade secret theft among American

companies, and trade secret theft where one of the parties violates export controls or passes the
stolen technology to a foreign entity.” Dkt. No. 89 at 4 (Order dated Oct. 9, 2020). Here, the

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forensic evidence gleaned from Yu’s electronic devices showed that he was passing “stolen

technology to a foreign entity.” Id. In other words, the new information on Yu’s computers did

exactly what Goodwin contemplated – helped the government realize that other information

already in its possession had greater significance. Goodwin at 381. It counseled in favor of new

and more serious charges. Yu’s transaction with Qilu Tech did the same. All of this evidence

showed that Yu’s case was far from a “run-of-the-mill” trade secrets dispute, as the defense has

falsely characterized it. Dkt. No. 104 at 18. And it was this dimension of Yu’s wrongdoing and

its potential national security implications that informed the government’s decision to bring

immigration fraud charges. Doing so was within the government’s discretion and in the interests

of justice.

        D.     There is No Evidence of Outrageous Government Misconduct.

        There is no basis for finding outrageous government misconduct here. The defense alleges

that the government has fallen into this unethical and unprofessional abyss because it informed Yu

that failure to reach a plea agreement might result in a superseding indictment charging Chen with

criminal conduct and charging Yu with more serious crimes. Dkt. No. 104 at 16. The defense

states that this was an unconstitutional attempt to coerce a plea from Yu. Dkt. No. 104 at 5. It

also states that the scheme was tantamount to “threatening their two young children with the loss

of their parents.” Dkt. No. 104 at 16. The arguments are baseless.
               1.     Enhanced Charges Against Yu Were Proper.

        The defense claims that the government attempted to coerce a guilty plea from Yu by

informing his counsel that the government would seek a superseding indictment charging more

serious crimes unless he pled. Dkt. No. 104 at 7. However, Supreme Court and First Circuit

precedent endorse such plea bargains. “In our system, so long as the prosecutor has probable cause

to believe that the accused committed an offense defined by statute, the decision whether or not to

prosecute, and what charge to file or bring before a grand jury, generally rests entirely in his

discretion.” Bordenkircher v. Hayes, 434 U.S. at 364 (1978). There is no constitutional violation
when a prosecutor carries out a threat, made during plea negotiations, to bring additional and more

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serious charges against an accused who refuses to plead guilty. Id. That is exactly what happened

here. And though unnecessary to rebut a claim of outrageous government misconduct, the

argument above explains the government’s rationale for bringing the immigration charges. That

discretionary decision was sound.

               2.      It is Not Coercive to Include Third-Party Benefits in Plea Negotiations.

       The defense also claims that the prosecution attempted to coerce Yu’s guilty plea by

threatening to indict his wife. Dkt. No. 104 at 7. However, informing Yu of Chen’s potential

criminal exposure – and giving Yu the opportunity to consider that in his own plea decision – is

not coercive. It is the law of the First Circuit – and of every circuit that has examined the issue –

that a plea agreement is not invalid because it includes leniency for a third party or because it is

entered “in response to a prosecutor’s justifiable threat to prosecute a third party.” United States

v. Marquez, 909 F.2d 738, 741–42 (2d Cir. 1990) (collecting cases); see also ALI Model Code of

Pre-Arraignment Procedure § 350.3 commentary at 616-17 (1975) (noting unanimous rejection by

ALI Council of recommendation to forbid plea bargains containing third-party benefits). The First

Circuit specifically wrote in Kent that it was “not prepared to say that it can be coercion to inform

a defendant that someone close to him who is guilty of a crime will be brought to book if he does

not plead. If a defendant elects to sacrifice himself for such motives, that is his choice.” Kent v.

United States, 272 F.2d 795, 798 (1st Cir. 1959).
       The defense cites Lynumn v. Illinois, 372 U.S. 528 (1963) to support its argument that the

government attempted to coerce Yu’s plea by threatening to charge his wife. Dkt. No. 104 at 7.

It asserts that the prosecution here “sought to employ similarly coercive tactics.” The comparison

is utterly inapt. Lynumn was the single mother of two children, ages three and four. Lynumn, 372

U.S. at 531. When she confessed to marijuana possession and sale, she was surrounded in her

apartment by three police officers and a two-time felon who had purportedly set her up. Id. at 534.

She had just been arrested in the hallway outside her apartment. 372 U.S. at 531. She had no

previous experience with the criminal law. Id. She had no friend or legal counsel to educate her
about the ability of the police to take her children and their public support. Id. She had no reason

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to doubt the officers who claimed that, without her confession, she might lose her children and

their aid. Id. In her testimony, she recounted that she told the officers that she would say anything

they wanted her to say. Id. at 531. “I asked what I was to say. I was told to say ‘You must admit

you gave Zeno the package,’ so I said, ‘Yes, I gave it to him.’” Id. at 531–32.

       There is no legitimate comparison between this case and Lynumn. When Yu was informed

of the possibility of charges against his wife, he was not a single woman in 1963, a mother of

toddlers, surrounded by police, framed by a felon, arrested only minutes earlier, and alone without

counsel. He was a highly educated and sophisticated engineer who had the benefit of private

counsel, which he has continued to enjoy for nearly 23 months. His plea negotiations were not

high-pressure environments in which he was told he might lose his children if he did not agree

right there: He was arrested in June 2019. He was released from custody. The negotiations

proceeded for at least ten months.

       The defense’s citation to Jefferson is also unhelpful. Dkt. No. 104 at 17-18; United States

v. Jefferson, 315 F. Supp. 2d 1187 (M.D. Ala. 2004). In that case, the parties seem to have

experienced a genuine misunderstanding about whether the defendant’s plea had waived his right

to appeal. Because of the misunderstanding, the defendant felt he desperately and unexpectedly

had to choose nearly immediately between forgoing his appeal and risking his wife’s indictment.

“Fortunately for Jefferson, he had a prosecutor who, although she believed she had credible
inculpatory evidence against Jefferson’s wife, in the end commendably” agreed not to pursue it,

given the circumstances. Jefferson, 315 F. Supp. 2d at 1188, 1189. Also fortunately for Yu, the

government did not unexpectedly announce potential superseding charges against him or his wife

and then demand an immediate answer about his intentions. Far from it. Yu had months to

consider his Constitutional options, and unlike Jefferson’s, the terms of his choice were informed.

               3.      The Government Has Not Threatened the Yu-Chen Children.

       The government wishes to make two additional points. The first regards the defense’s

repeated invocation of the defendants’ children and the assertion that it has threatened the entire
family with the children’s “loss of their parents” by simultaneously charging both Yu and Chen.

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Dkt. No. 104 at 1, 16. First, this court knows that, if both defendants are convicted, any risk of the

Yu-Chen children being temporarily left without a parent can be mitigated with staggered

sentences. Nonbinding Guidelines projections indicate Chen’s suggested sentence would be about

one year. Second, the government takes no joy in imagining the position of the Yu-Chen family.

But it is the defendants who put themselves in this position – not by asserting their Constitutional

rights, as they are free to do, but by committing crimes in the first place.

               4.      The Government Has Not Attacked the Institution of Marriage.

       The second point regards the defense’s assertion that, in charging both Yu and Chen, the

government somehow “sullied … the institution of marriage.” Dkt. No. 104 at 15. The idea is

preposterous. The government reveres this institution as much as the defense. But both parties

know – and the court knows – that the law does not suffer spousal conspirators. Husbands and

wives can be charged together when they commit crimes together.12                  Even the marital

communication privilege does not apply when husband and wife commit a crime together.

       In short, none of the government’s conduct here was illegal, unethical, or even particularly

unusual. It cannot be “outrageous” when it fits the definition of conduct explicitly condoned by

the Supreme Court, the First Circuit, and other courts. The defense has described nothing worthy

of the first finding in this circuit of outrageous government misconduct.

       E.      The Defense Has Not Met Its Burden for Discovery.
       The defense has not met its “rigorous” burden for discovery. Bucci, 582 F.3d at 113;

Armstrong, 517 U.S. at 465. It has not even described what discovery it would like to request.

Further, all evidence cited in this motion is either correspondence between the parties or discovery

that has already been produced and that was available to the defense prior to the filing of its motion.



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       12
         See, e.g., United States v. Giudice, et. al. (D. NJ. No 2:13-cr-00495-ES) (husband and
wife charged while they had four young children; both were sentenced to jail; conviction resulted
in husband’s deportation).
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                                     IV. CONCLUSION

       For the foregoing reasons, the Court should deny the defendants’ motion to dismiss in its

entirety without holding an evidentiary hearing or granting the defendants’ motion for discovery.

                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


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                                              _/s/ Amanda Beck____________
                                              AMANDA BECK
                                              Assistant United States Attorney




Date: May 3, 2021




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